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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                              Case No. CR 23-20-BLG-SPW
             Plaintiff,

 vs.

                                                        ORDER
 MOISES ZAMORA,

             Defendant.




       Upon Defendant's Motion for Status of Counsel Hearing(Doc. 32), through

his attorney, and for good cause appearing,

       IT IS HEREBY ORDERED that the motion is GRANTED. A Status of

Counsel Hearing is set for Friday,December 15,2023 at 1:30 p.m. Defendant,

Moises Zamora, will appear via ZOOM from the Missouri River Federal

Courthouse, 125 Central Avenue, Great Falls, Montana.
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